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                         IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
         Plaintiff,                            )
                                               )`
v.                                             )        Case No. 21-cr-00003 (RCL)
                                               )
JACOB ANTHONY CHANSLEY,                        )
                                               )
         Defendant.                            )

                 DEFENDANT’S CONSENT TO GOVERNMENT’S MOTION
                            FOR PROTECTIVE ORDER

         COMES NOW Defendant, Jacob Anthony Chansley, by and through his undersigned

counsel, and hereby gives notice of his consent to the Government’s Motion for a Protective

Order.

                                       Respectfully Submitted,

                                       KODNER WATKINS, LC


                                        By:___/s/ Albert S. Watkins________________
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                                  CERTIFICATE OF SERVICE
        Signature above is also certification that on March 5th, 2021, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system which
will send notification of such filing to all parties of record.




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